     Case 2:10-md-02179-CJB-DPC Document 8963 Filed 03/20/13 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater *           MDL NO. 2179
  Horizon” in the Gulf of Mexico, on April *
  20, 2010                                 *
                                           *           SECTION J
                                           *
This document relates to all actions.      *
                                           *
                                           *           Honorable CARL J. BARBIER
                                           *
                                           *
                                           *           Magistrate Judge SHUSHAN
                                           *

Bon Secour Fisheries, Inc., et al., individually *     Civil Action No. 12-970
and on behalf of themselves and all others *
similarly situated,                              *
                                                 *     SECTION J
                                                 *
   Plaintiffs,                                   *
                                                 *
                                                 *     Honorable CARL J. BARBIER
v.                                               *
                                                 *
                                                 *     Magistrate Judge SHUSHAN
BP Exploration & Production Inc.; BP *
America Production Company; BP p.l.c.,           *
                                                 *
                                                 *
   Defendants.


    BP’S NOTICE OF FILING OF THE DECLARATION OF ANDREW T. KARRON
          RELATING TO THE SUBMISSION OF IN CAMERA MATERIALS
                         PRIOR TO MARCH 5, 2013


        PLEASE TAKE NOTICE that BP Exploration & Production Inc. and BP America

Production hereby file into the record the Declaration of Andrew T. Karron Relating to the

Submission of In Camera Materials Prior to March 5, 2013. This declaration is attached as

Exhibit A to this filing.
    Case 2:10-md-02179-CJB-DPC Document 8963 Filed 03/20/13 Page 2 of 3




Dated: March 14, 2013         Respectfully submitted,


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                AND BP AMERICA PRODUCTION COMPANY




                                     -2-
    Case 2:10-md-02179-CJB-DPC Document 8963 Filed 03/20/13 Page 3 of 3




                             CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading has been served on All

Counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance

with Pretrial Order No. 12, and that the foregoing was electronically filed with the Clerk of

Court of the United States District Court for the Eastern District of Louisiana by using the

CM/ECF System, which will send a notice of electronic filing in accordance with the

procedures established in MDL 2179, on this 15th day of March, 2013.

 Dated: March 14, 2013                               Respectfully submitted,


                                                     /s/ R. Keith Jarrett
                                                     R. Keith Jarrett




                                               -3-
